                                          Case 3:17-cv-03580-EMC Document 159 Filed 09/26/19 Page 1 of 4



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                                   17                                UNITED STATES DISTRICT COURT

                                   18          NORTHERN DISTRICT OF CALIFORNIA – SAN FRANCISCO DIVISION

                                   19   DAVID BARANCO, JAMES ABBITT,                   Case No. 3:17-cv-03580-EMC
                                        HARRIET ABRUSCATO, DONALD
                                   20   BROWN, DANIEL CARON, GARY                      STIPULATION OF VOLUNTARY
                                        DICKEN, ANITA FARRELL, JOHN FURNO,             DISMISSAL WITH PREJUDICE
                                   21   GREG GARAT, JOHN HANNAH, GARY                  PURSUANT TO F.R.C.P. 41(a)(1)(A)(ii)
                                        KUBBER, MALISA NICOLAU, and APRIL
                                   22   NICOLO, individually and on behalf of all      CLASS ACTION
                                        others similarly situated,
                                   23
                                                       Plaintiffs,                     District Judge Edward M. Chen
                                   24                                                  Courtroom 5, 17th Floor
                                               v.
                                   25
                                        FORD MOTOR COMPANY, a Delaware                 Comp. Filed: June 21, 2017
                                   26   corporation,                                   Trial Date:  April 6, 2020

                                   27                  Defendant.                      JURY TRIAL DEMANDED

                                   28
                                                                                                           Case No. 3:17-CV-03580-EMC
00155424                                              STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE
                                          Case 3:17-cv-03580-EMC Document 159 Filed 09/26/19 Page 2 of 4



                                   1          Pursuant to F.R.C.P. 41(a)(1)(A)(ii), Plaintiffs, David Baranco, James Abbitt, Harriet

                                   2   Abruscato, Donald Brown, Daniel Caron, Anita Farrell, John Furno, Greg Garat, John Hannah, Gary

                                   3   Kubber, Malisa Nicolau, and April Nicolo, and Defendant Ford Motor Company (“Ford”), by and

                                   4   through their respective counsel, hereby stipulate as follows: Plaintiffs voluntarily dismiss all their

                                   5   claims and/or counts against Ford with prejudice.

                                   6                                                  Respectfully Submitted,

                                   7   Dated: September 11, 2019                        BLOOD HURST & O’REARDON, LLP
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00155424                                             STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE
                                          Case 3:17-cv-03580-EMC Document 159 Filed 09/26/19 Page 3 of 4



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                                  11                                        ECF CERTIFICATION
  BLOOD HURST & O’ REARDON, LLP




                                  12          The filing attorney attests that she has obtained concurrence regarding the filing of this

                                  13   document from the signatories to this document.

                                  14   Dated: September 11, 2019                      BLOOD HURST & O’REARDON, LLP

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00155424                                            STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE
